                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 12-2024
 vs.                                               ORDER REGARDING
                                              MAGISTRATE’S REPORT AND
 CONNY MILES,                                      RECOMMENDATION
                                               CONCERNING DEFENDANT’S
               Defendant.                             GUILTY PLEA
                                 ____________________


                      I. INTRODUCTION AND BACKGROUND
       On August 22, 2012, a three-count Indictment was returned against the defendant
Conny Miles. On April 19, 2013, the defendant appeared before United States Magistrate
Judge Jon S. Scoles and entered a plea of guilty to the lesser included offense in Count 1
and forfeiture allegation of the Indictment. On April 19, 2013, Judge Scoles filed a Report
and Recommendation in which he recommended that defendant’s guilty plea be accepted.
No objections to Judge Scoles' Report and Recommendation were filed. The court,
therefore, undertakes the necessary review of Judge Scoles' recommendation to accept
defendant’s plea in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the

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              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of April 19, 2013,
and accepts defendant’s plea of guilty in this case to the lesser included offense in Count
1 and forfeiture allegation of the Indictment.
       IT IS SO ORDERED.
       DATED this 6th day of May, 2013.




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